        Case 2:17-cv-05996-FMO-PLA Document 31-1 Filed 11/20/17 Page 1 of 1 Page ID #:94
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                        WESTERN DIVISION               SOUTHERN DIVISION
                                                             312 North Spring Street, Room G-8
                                                                                                 411 West Fourth Street, Suite 1053
                                                                  Los Angeles, CA 90012
                                                                                                    Santa Ana, CA 92701-4516
                                                                   Tel: (213) 894-3535                    (714) 338-4750

                                                                                                    EASTERN DIVISION
                                                                                                  3470 Twelfth Street, Room 134
            KIRY K. GRAY                                                                              Riverside, CA 92501
                Clerk of Court                                                                           (951) 328-4450



To :      Clerk, United States District Court
           Southern              District of            New York
           500 Pearl Street, Room 120
           New York, NY 10007-1312

Re:     Transfer of our Civil Case No.   CV 17-05996 FMO (PLAx)
        Case Title:              Wongab Corporation v. Urban Outfitters, Inc., et al.,


Dear Sir/Madam:

An order having been made                transferring
                                     the claims against 4. Collective, LLC and Urban Outfitters, Inc.,
related to "PCM-2299-D165" and Accused Product A" the above-numbered case to your district, we are transmitting
        Original case file documents are enclosed in paper format.                                                 herewith our file:
        Electronic documents are accessible through Pacer.
 ✔      Other:
                   Mailed certified copy Order with civil docket sheet to USDC, Southern District of New York

                                                                    Very truly yours,

                                                                    Clerk, U.S. District Court

Date:     November 20, 2017                                          By     /s/ Jenny Lam
                                                                          Deputy Clerk
cc:     All counsel of record

                                      TO BE COMPLETED BY RECEIVING DISTRICT

Please acknowledge receipt via e-mail to the appropriate address listed below and provide the case
number assigned in your district:

G       CivilIntakecourtdocs-LA@cacd.uscourts.gov                   (Los Angeles Office)
G       CivilIntakecourtdocs-RS@cacd.uscourts.gov                   (Riverside Office)
G       CivilIntakecourtdocs-SA@cacd.uscourts.gov                   (Santa Ana Office)

Case Number:

                                                                    Clerk, U.S. District Court

Date:                                                                By
                                                                          Deputy Clerk


CV-22 (10/15)                          TRANSMITTAL LETTER - CIVIL OR MDL CASE TRANSFER OUT
